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                              8

                              9
                                                    UNITED STATES DISTRICT COURT
                                                              FOR THE
                          10                       CENTRAL DISTRICT OF CALIFORNIA
                          11
                                   BENJAMIN YU                             Case No.: _______________________
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                          12
                                               Plaintiff,                    COMPLAINT FOR DAMAGES
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          13                                                  DEMAND FOR JURY TRIAL
                                                       v.
                          14
                                   NEWPORT EMERGENCY
                          15       MEDICAL GROUP, INC. and
                          16
                                   CMRE FINANCIAL
                                   SERVICES, INC.;
                          17

                          18                    Defendants
                          19      ///
                          20      ///
                          21
                                  ///
                          22
                                  ///
                          23

                          24

                          25

                          26

                          27

                          28

                                  COMPLAINT FOR DAMAGES
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                                                                         INTRODUCTION
                              1

                              2   1.   This is a case about a disabled military veteran who is being threatened and
                              3
                                       harassed by a group of doctors and their debt collector for money he doesn’t even
                              4
                                       owe. The veteran and his daughter were both covered by Veteran’s
                              5

                              6        Administration (VA) medical insurance which paid the doctors on time and in full
                              7
                                       for two emergency room visits. Despite it being illegal under federal law to try to
                              8
                                       charge a veteran for more money than they receive from the VA, the doctors’
                              9

                          10           group went ahead and tried to get even more money directly from this disabled
                          11
                                       veteran and then, when that failed, hired a debt collector to try to get it from him.
                          12
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                          13
                                       Thinking that there had maybe been some honest mistake, the veteran tried to
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                          14           clear up the situation and even got the VA to write letters directly to the doctors’
                          15
                                       group. Even then, and still to this day, this doctors’ group and their debt collectors,
                          16

                          17           despite being told that what they are trying to do is wrong, keep harassing and

                          18           threatening the disabled military veteran for money they aren’t entitled to.
                          19
                                  2.   BENJAMIN YU (“Plaintiff”), by Plaintiff’s attorney, brings this action for
                          20

                          21           actual damages, statutory damages, punitive damages, and attorneys’ fees, and

                          22           costs, against NEWPORT EMERGENCY MEDICAL GROUP, INC. and
                          23
                                       CMRE FINANCIAL SERVICES, INC. for violations of the Fair Debt
                          24

                          25           Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), and

                          26           the Rosenthal Fair Debt Collection Practices Act, California Civil Code § 1788
                          27
                                       et seq. (hereinafter “RFDCPA”), both of which prohibit debt collectors from
                          28


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                                       engaging in abusive, deceptive and unfair practices.
                              1

                              2   3.   Plaintiff makes these allegations on information and belief, with the exception
                              3
                                       of those allegations that pertain to the Plaintiff, or to the Plaintiff’s counsel,
                              4
                                       which Plaintiff alleges on personal knowledge.
                              5

                              6   4.   While many violations are described below with specificity, this Complaint
                              7
                                       alleges violations of the statutes cited in their entirety.
                              8
                                  5.   All violations by Defendants were knowing, willful, and intentional, and
                              9

                          10           Defendants did not maintain procedures reasonably adapted to avoid any such
                          11
                                       violations.
                          12
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                          13
                                  6.   Unless otherwise indicated, the use of a Defendant’s name in this Complaint
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                          14           includes all agents, principles, managing agents, employees, officers, members,
                          15
                                       directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
                          16

                          17           representatives, and insurers of those Defendants named.

                          18                                    JURISDICTION AND VENUE
                          19
                                  7.   Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states
                          20

                          21           that such actions may be brought and heard before “any appropriate United States

                          22           district court without regard to the amount in controversy,” 28 U.S.C. § 1331,
                          23
                                       which grants this court original jurisdiction of all civil actions arising under the
                          24

                          25           laws of the United States, and pursuant to 28 U.S.C. § 1367 for pendent state law

                          26           claims.
                          27
                                  8.   This action arises out of Defendants’ violations Fair Debt Collection Practices
                          28


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                                        Act, 15 U.S.C. § 1692 et seq. (hereinafter “FDCPA”), and the Rosenthal Fair Debt
                              1

                              2         Collection Practices Act, California Civil Code § 1788 et seq. (hereinafter
                              3
                                        “RFDCPA”).
                              4
                                  9.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because the acts and
                              5

                              6         transactions occurred here, Plaintiff resides here, and Defendants transact
                              7
                                        business here.
                              8

                              9
                                                                  FDCPA AND RFDCPA

                          10      10. In enacting the FDCPA, Congress found that:
                          11           a.    There is abundant evidence of the use of abusive, deceptive, and unfair debt
                          12                 collection practices by many debt collectors. Abusive debt collection
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                                             practices contribute to the number of personal bankruptcies, to marital
                          13                 instability, to the loss of jobs, and to invasions of individual privacy.
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                          14
                                       b.    Existing laws and procedures for redressing these injuries are inadequate to
                          15                 protect consumers.
                          16           c.    Means other than misrepresentation or other abusive debt collection
                          17                 practices are available for the effective collection of debts.
                          18           d.    Abusive debt collection practices are carried on to a substantial extent in
                          19                 interstate commerce and through means and instrumentalities of such
                                             commerce. Even where abusive debt collection practices are purely
                          20                 intrastate in character, they nevertheless directly affect interstate
                          21                 commerce.

                          22           e.    It is the purpose of this title to eliminate abusive debt collection practice by
                                             debt collectors, to insure that those debt collectors who refrain from using
                          23
                                             abusive debt collection practices are not competitively disadvantaged, and
                          24                 to promote consistent State action to protect Consumers against debt
                                             collection abuses. 15 U.S.C. § 1692.
                          25

                          26      11. Similarly, when enacting the RFDCPA, the California Legislature found that:

                          27                 The banking and credit system and grantors of credit to consumers
                                             are dependent upon the collection of just and owing debts. Unfair or
                          28
                                             deceptive collection practices undermine the public confidence

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                                           which is essential to the continued functioning of the banking and
                              1
                                           credit system and sound extensions of credit to consumers. Cal.
                              2            Civil Code § 1788.1(a)(1).
                              3   12. The FDCPA and the RFDCPA are both strict liability statutes. That is, a
                              4
                                      plaintiff need not prove intent or knowledge on the part of the debt collector to
                              5

                              6       establish liability. See Gonzales v. Arrow Fin. Servs., LLC, 660 F.3d 1055,
                              7       1060-61 (9th Cir. 2011); Donohue v. Quick Collect, 592 F.3d 1027, 1030 (“[t]he
                              8
                                      FDCPA is a strict liability statute that makes debt collectors liable for violations
                              9

                          10          that are not knowing or intentional”).
                          11      13. To further protect consumers, claims under the FDCPA and RFDCPA are to be
                          12
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                                      judged according to the “least sophisticated debtor” or “least sophisticated
                          13
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                          14          consumer” standard. Gonzales at 1061. This standard is lower than the
                          15          “reasonable debtor” standard, and is specifically designed to protect consumers
                          16
                                      of below average and sophistication or intelligence. Id. In addition, a plaintiff
                          17

                          18          need not even have actually been misled or deceived by the debt collector’s
                          19
                                      communication. Rather, liability depends on whether the hypothetical least
                          20
                                      sophisticated debtor – someone who is uninformed and naïve – would have
                          21

                          22          likely been misled. Id.; see also Tourgeman v. Collins Financial Servs., 755
                          23
                                      F.3d 1109, 1119 (9th Cir. 2014).
                          24
                                                                         PARTIES
                          25

                          26      14. Plaintiff is a natural person who resides in the County of Orange, State of
                          27
                                      California. Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                          28


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                                      1692a(3) and “Debtor” as that term is defined by California Civil Code §
                              1

                              2       1788.2(h). Plaintiff is a “disabled person” as that term is defined in subdivisions
                              3
                                      (f) and (g) of Cal. Civ. Code § 1761.
                              4
                                  15. Defendant Newport Emergency Medical Group, Inc. (hereinafter “Defendant
                              5

                              6       NEMG”) is a California corporation operating from an address of 23 Watercress,
                              7
                                      Irvine, CA 92603, and is a “Debt Collector” as that term is defined by Cal. Civ.
                              8
                                      Code § 1788.2(c) because it regularly and in the ordinary course of business,
                              9

                          10          engages in debt collection on behalf of itself. It is the original creditor of the ER
                          11
                                      debt at issue.
                          12
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                          13
                                  16. Defendant CMRE Financial Services, Inc. (hereinafter “Defendant CMRE”) is
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                          14          a California corporation operating from an address of 3075 E Imperial Hwy, #200,
                          15
                                      Brea, CA 92821, and is a “Debt Collector” as that term is defined by 15 U.S.C. §
                          16

                          17          1692a(6) and Cal. Civ. Code § 1788.2(c) because it regularly uses the mails and/or

                          18          the telephone to collect, or attempt to collect, directly or indirectly, defaulted
                          19
                                      consumer debts that it did not originate. It operates a nationwide debt collection
                          20

                          21          business and attempts to collect debts from consumers in virtually every state,

                          22          including consumers in the State of California. Its principal, if not sole, business
                          23
                                      purpose is the collection of defaulted consumer debts originated by others, and,
                          24

                          25          in fact was acting as a debt collector as to the delinquent consumer debt it

                          26          attempted to collect from Plaintiff.
                          27
                                  17. This case involves money due or owing or alleged to be due or owing from a
                          28


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                                       natural person by reason of a consumer credit transaction. As such, this action
                              1

                              2        arises out of a “consumer debt” and “consumer credit” as those terms are
                              3
                                       defined by Cal. Civ. Code § 1788.2(f).
                              4
                                  18. Plaintiff is informed and believes, and thereon allege that at all times herein
                              5

                              6        mentioned Named Defendants were agents, officers, directors, managing
                              7
                                       agents, employee and/or joint venturer of each of their co-defendants and, in
                              8
                                       doing the things hereafter mentioned, each was acting in the scope of his
                              9

                          10           authority as such agent, officer, director, managing agent, employee, and/or
                          11
                                       joint venturer, and with the permission, knowledge, ratification, and consent of
                          12
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                          13
                                       their co-defendants, and each of them. Any reference hereafter to “Defendants”
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                          14           without further qualification is meant by Plaintiff to refer to each Defendant,
                          15
                                       and all of them, named above.
                          16

                          17                                    FACTUAL ALLEGATIONS

                          18      19. Plaintiff is an individual residing in the County of Orange in the State of
                          19
                                       California.
                          20

                          21      20. Plaintiff is informed and believes, and thereon alleges, that at all times relevant,

                          22           Defendants conducted and continue to conduct business in the State of
                          23
                                       California.
                          24

                          25      21. Defendant CMRE’s business consists primarily, if not solely, of the acquisition

                          26           and collection of delinquent consumer debts.
                          27
                                  22. Defendant NEMG’s business consists partially of the collection of debts which it
                          28


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                                       originates, on behalf of itself.
                              1

                              2   23. Plaintiff, as a 100% total and permanent service-connected disabled military
                              3
                                       veteran, is fully covered by his insurance through the Department of Veteran’s
                              4
                                       Affairs (“VA”) to receive emergency care outside of the VA healthcare system.
                              5

                              6   24. Plaintiff’s daughter also has full coverage to receive emergency care outside of
                              7
                                       the VA healthcare system under her insurance policy – called the Civilian Health
                              8
                                       and Medical Program of the Department of Veteran’s Affairs (“CHAMPVA”).
                              9

                          10      25. On February 20, 2018, Plaintiff visited HOAG Hospital’s emergency room –
                          11
                                       where Defendant NEMG serves as a service provider – for a medical issue.
                          12
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                          13
                                  26. On April 12, 2018, Plaintiff’s VA insurance paid the claim that Defendant NEMG
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                          14           submitted for Plaintiff’s emergency room visit.
                          15
                                  27. On May 5, 2018, Plaintiff’s daughter visited HOAG Hospital’s emergency room
                          16

                          17           – where Defendant NEMG serves as a service provider –for a medical issue.

                          18      28. On June 18, 2018 and June 21, 2018, Plaintiff’s daughter’s insurance –
                          19
                                       CHAMPVA – paid the claims that Defendant NEMG submitted for Plaintiff’s
                          20

                          21           daughter’s emergency room visit.

                          22      29. Pursuant to C.F.R. Title 38, part 17, paragraph 17.56(d), a medical facility cannot
                          23
                                       bill a veteran or any third party for any balance not paid to the medical facility by
                          24

                          25           the VA.

                          26      30. In or around July 2018, Plaintiff received a bill from Defendant NEMG regarding
                          27
                                       Plaintiff’s February 2018 ER visit and Plaintiff’s daughter’s May 2018 ER visit.
                          28


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                                  31. The July 2018 bill was the first written communication Plaintiff received from
                              1

                              2       Defendant NEMG at Plaintiff’s address (which is in California) and it did not
                              3
                                      include the notice required by Cal. Civ. Code §1812.700.
                              4
                                  32. In or around August 2018, Plaintiff received a bill from Defendant NEMG
                              5

                              6       regarding Plaintiff’s February 2018 ER visit and Plaintiff’s daughter’s May 2018
                              7
                                      ER visit.
                              8
                                  33. After receipt of the bills from Defendant NEMG, Plaintiff called Defendant
                              9

                          10          NEMG and informed them that the bills should be sent to VA Long Beach
                          11
                                      healthcare system and paid by his VA insurance and his daughter’s CHAMPVA
                          12
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                          13
                                      insurance. Plaintiff informed Defendant NEMG that documents Plaintiff had
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                          14          received in the mail suggested that the VA and CHAMPVA had already
                          15
                                      processed the payment to Defendant NEMG for both Plaintiff’s and Plaintiff’s
                          16

                          17          daughter’s emergency room visits.

                          18      34. During this phone call, Defendant NEMG stated that the computer showed that it
                          19
                                      had not received payment, so Plaintiff was required to do something about it.
                          20

                          21          Plaintiff mailed an Explanation of Benefits (“EOB”) to Defendant NEMG via

                          22          regular mail.
                          23
                                  35. On or around January 9, 2019, Plaintiff received a bill from Defendant CMRE on
                          24

                          25          behalf of Defendant NEMG, demanding payment for Plaintiff’s February 2018

                          26          ER visit and Plaintiff’s daughter’s May 2018 ER visit.
                          27
                                  36. Following receipt of the January 9, 2019, letter, in or around January 2019,
                          28


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                                       Plaintiff and his daughter again sent Defendants the EOBs dated June 18, 2018,
                              1

                              2        and June 21, 2018, which showed the payments that CHAMPVA had made
                              3
                                       toward Plaintiff’s daughter’s May 2018 ER visit.
                              4
                                   37. In or around January 2019, Plaintiff contacted HOAG Hospital regarding the
                              5

                              6        collection efforts Defendant NEMG (on its own behalf and through Defendant
                              7
                                       CMRE) was making. Plaintiff was informed that HOAG Hospital and its service
                              8
                                       providers, including Defendant NEMG, bill for each of their services separately.
                              9

                          10           Plaintiff was also informed that HOAG Hospital had been paid in full for both
                          11
                                       emergency room visits by VA Insurance (for Plaintiff’s visit) and CHAMPVA
                          12
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                          13
                                       (for Plaintiff’s daughter’s visit).
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                          14       38. Also following receipt of the January 9, 2019 letter, in or around January 2019,
                          15
                                       the VA at Long Beach Healthcare System (on behalf of Plaintiff) sent Defendant
                          16

                          17           NEMG a letter indicating that it’s office had already paid Defendant NEMG for

                          18           Plaintiff’s February 2018, visit. Along with this letter, the VA (on behalf of
                          19
                                       Plaintiff) sent a document to Defendant NEMG called Veteran Payment History,
                          20

                          21           showing that the Plaintiff’s February 2018 ER visit was already paid for on April

                          22           12, 2018, and included additional details regarding the treasury check number and
                          23
                                       the relevant government regulation applicable to VA Healthcare payments to
                          24

                          25           service providers.

                          26       39. In order to get the VA to send the letter and the payment history to Defendants,
                          27
                                       Plaintiff spent several days driving to and from the VA Long Beach campus thirty
                          28


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                                       miles from his home, finding the correct office, and speaking to the correct people
                              1

                              2        to request such letters be sent regarding a debt that had already been paid.
                              3
                                   40. On or around March 4, 2019, Plaintiff received another letter from Defendant
                              4
                                       CMRE on behalf of Defendant NEMG, demanding again that Plaintiff pay for his
                              5

                              6        February 2018 ER visit.
                              7
                                   41. Defendant NEMG told Plaintiff on at least one occasion that because their
                              8
                                       computer system was not showing that the payment had been made, that he, as
                              9

                          10           the patient, was responsible for making that payment.
                          11
                                   42. Plaintiff then provided Defendant NEMG with proof that the debt(s) had been
                          12
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                          13
                                       paid, and instead of ceasing collection on an already paid debt, Defendants
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                          14           continue to insist that Plaintiff pay them money.
                          15
                                                                   ACTUAL DAMAGES
                          16

                          17       43. Plaintiff has suffered actual damages as a result of these illegal collection and

                          18           intimidation tactics by this Defendant in the form of, pecuniary loss, invasion of
                          19
                                       privacy, personal embarrassment, loss of personal reputation, loss of productive
                          20

                          21           time, nausea, and feelings of fear, anxiety, hopelessness, anger, persecution,

                          22           emotional distress, frustration, upset, humiliation, and embarrassment, amongst
                          23
                                       other negative emotions.
                          24

                          25                          CAUSES OF ACTION CLAIMED BY PLAINTIFF

                          26                                             COUNT I
                          27
                                                        VIOLATION OF § 1692E OF THE FDCPA
                          28


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                                                          AGAINST DEFENDANT CMRE ONLY
                              1

                              2    44. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                              3
                                       as though fully stated herein.
                              4
                                   45. A debt collector violates § 1692e of the FDCPA when it uses any false, deceptive,
                              5

                              6        or misleading representation or means in connection with the collection of any
                              7
                                       debt.
                              8
                                   46. Defendant CMRE violated § 1692e when it, among other qualifying actions and
                              9

                          10           omissions, willfully misrepresented the legal status of the debt, to wit: that
                          11
                                       Plaintiff owed the debt despite having been informed that Plaintiff’s insurance,
                          12
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                          13
                                       through the VA, had already paid the debt.
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                          14       47. Defendant CMRE violated § 1692e when it, among other qualifying actions and
                          15
                                       omissions, willfully threatened and continued to take action that could not legally
                          16

                          17           be taken, to wit: this debt is not legally collectable from the Plaintiff pursuant to

                          18           38 C.F.R. §17.56(c) and 1755(g), because the debt was already paid by Plaintiff’s
                          19
                                       insurance through the VA.
                          20

                          21                                             COUNT II

                          22                             VIOLATION OF § 1692F OF THE FDCPA
                          23
                                                          AGAINST DEFENDANT CMRE ONLY
                          24

                          25       48. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

                          26           as though fully stated herein.
                          27
                                   49. A debt collector violates § 1692f of the FDCPA when it uses unfair or
                          28


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                                       unconscionable means to collect or attempt to collect any debt.
                              1

                              2    50. Defendant violated § 1692f when it, among other qualifying actions and
                              3
                                       omissions, willfully and without justification, continued to attempt to collect the
                              4
                                       subject debt from Plaintiff, in violation of 38 C.F.R. §17.56(c) and 1755(g),
                              5

                              6        despite being aware that Plaintiff’s insurance through the VA had already paid the
                              7
                                       subject debt.
                              8

                              9
                                                                        COUNT III

                          10                           VIOLATION OF § 1788.17 OF THE RFDCPA
                          11
                                                               AGAINST ALL DEFENDANTS
                          12
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                          13
                                   51. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
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                          14           as though fully stated herein.
                          15
                                   52. A defendant violates § 1788.17 of the RFDCPA when it fails to comply with
                          16

                          17           the provisions of 15 U.S.C. § 1692b to 1692j, inclusive.

                          18       53. Defendant CMRE violated § 1788.17 of the RFDCPA when they willfully
                          19
                                       engaged in conduct, the natural consequence of which the violation of 15 U.S.C.
                          20

                          21           § 1692e and § 1692f, as stated above.

                          22       54. Defendant NEMG violated § 1692d when it, among other qualifying actions and
                          23
                                       omissions, harassed, oppressed, and abused Plaintiff by sending the subject debt
                          24

                          25           to collections in violation of 38 C.F.R. §17.56(c) and 1755(g), despite being aware

                          26           that Plaintiff’s insurance through the VA had already paid the subject debt.
                          27
                                   55. Defendant NEMG violated § 1692e when it, among other qualifying actions and
                          28


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                                       omissions, used false, deceptive and/or misleading representations in order to
                              1

                              2        collect or attempt to collect the subject debt, to wit: that Plaintiff still owed the
                              3
                                       subject debt, despite being aware that Plaintiff’s insurance through the VA had
                              4
                                       already paid the subject debt – which is a violation of 38 C.F.R. §17.56(c) and
                              5

                              6        1755(g).
                              7
                                   56. Defendant NEMG violated § 1692f when it, among other qualifying actions and
                              8
                                       omissions, used unfair and unconscionable means to collect the subject debt, by
                              9

                          10           sending the subject debt to collections in violation of 38 C.F.R. §17.56(c) and
                          11
                                       1755(g), despite being aware that Plaintiff’s insurance through the VA had
                          12
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                          13
                                       already paid the subject debt
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                          14       57. Defendant NEMG violated § 1692g when it, among other qualifying actions and
                          15
                                       omissions, willfully and without justification, failed within five days of initially
                          16

                          17           contacting Plaintiff to send him the notices required by § 1692g(a).

                          18                                             COUNT IV
                          19
                                                      VIOLATION OF § 1812.700 OF THE RFDCPA
                          20

                          21                                  AGAINST DEFENDANT NEMG

                          22       58. Plaintiff in corporates by reference all of the above paragraphs of this Complaint
                          23
                                       as though fully stated herein.
                          24

                          25       59. A debt collector violates §1812.700 of the RFDCPA when it fails to provide the

                          26           notice contained in this section to an alleged debtor along with the first written
                          27
                                       notice initially addressed to a California address of the alleged debtor in
                          28


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                                          connection with collecting the debt by a third-party debt collector.
                              1

                              2    60. Defendant NEMG violated §1812.700 of the RFDCPA when it did not provide
                              3
                                          the written notice required in this section to Plaintiff with the first written
                              4
                                          collection effort addressed to Plaintiff’s California address, which was sent in
                              5

                              6           or around July 2018.
                              7
                                                                    PRAYER FOR RELIEF
                              8
                                   WHEREFORE, Plaintiff prays that judgment be entered against each Defendant
                              9

                          10       for:
                          11
                                              a) Award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) (FDCPA)
                          12
THE CARDOZA LAW CORPORATION




                          13
                                                  and pursuant to Cal. Civ. Code § 1788.30 (RFDCPA), against each
    SAN FRANCISCO, CA 94104
     548 MARKET ST. #80594




                          14                      Defendant and for Plaintiff, and,
                          15
                                              b) Award of statutory damages in the amount of $1000.00 pursuant to 15
                          16

                          17                      U.S.C. § 1692k(a)(1) (FDCPA) against each Defendant and for Plaintiff,

                          18                      and,
                          19
                                              c) Award of statutory damages in the amount of $1000.00 pursuant to Cal.
                          20

                          21                      Civ. Code § 1788.30 (RFDCPA) against each Defendant and for Plaintiff,

                          22                      and,
                          23
                                              d) Award of Treble damages pursuant to Cal Civ §3345 against each
                          24

                          25                      Defendant and for Plaintiff, and

                          26

                          27

                          28


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                                  Case 8:19-cv-01067-JLS-ADS Document 1 Filed 05/31/19 Page 16 of 16 Page ID #:16

                                            e) Award of costs of litigation and reasonable attorney’s fees pursuant to 15
                              1

                              2                U.S.C. § 1692k(a)(1) (FDCPA) and pursuant to Cal. Civ. Code § 1788.30
                              3
                                               (RFDCPA), against each Defendant and for Plaintiff, and,
                              4
                                            f) Award to Plaintiff of such other and further relief as may be just and
                              5

                              6                proper.
                              7
                                                            TRIAL BY JURY IS DEMANDED.
                              8

                              9
                                   61. Pursuant to the seventh amendment to the Constitution of the United States of
                          10

                          11
                                       America, Plaintiff is entitled to, and demands, a trial by jury.

                          12
THE CARDOZA LAW CORPORATION




                          13
    SAN FRANCISCO, CA 94104




                                                                          THE CARDOZA LAW CORPORATION
     548 MARKET ST. #80594




                          14
                                   DATED: May 31, 2019                    BY: /S/ LAUREN B. VEGGIAN
                          15                                              MICHAEL F. CARDOZA, ESQ.
                          16
                                                                          LAUREN B. VEGGIAN, ESQ.
                                                                          ATTORNEY FOR PLAINTIFF,
                          17                                              BENJAMIN YU
                          18

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